Case 3:22-cv-03131-JCS Document 86-7 Filed 11/17/23 Page 1 of 9




    EXHIBIT 52
Case 3:22-cv-03131-JCS Document 86-7 Filed 11/17/23 Page 2 of 9
Case 3:22-cv-03131-JCS Document 86-7 Filed 11/17/23 Page 3 of 9
Case 3:22-cv-03131-JCS Document 86-7 Filed 11/17/23 Page 4 of 9
Case 3:22-cv-03131-JCS Document 86-7 Filed 11/17/23 Page 5 of 9
Case 3:22-cv-03131-JCS Document 86-7 Filed 11/17/23 Page 6 of 9
Case 3:22-cv-03131-JCS Document 86-7 Filed 11/17/23 Page 7 of 9
Case 3:22-cv-03131-JCS Document 86-7 Filed 11/17/23 Page 8 of 9
Case 3:22-cv-03131-JCS Document 86-7 Filed 11/17/23 Page 9 of 9
